'* _ Case 2:05-cr-20205-.]DB Document 20 Filed 06/22/05 PagelofS Page|D 34

IN 'I‘HE U'NITED STATES DISTRICT COURT
FOR 'I`HE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA

 

 

 

 

 

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Plaintiff, )
)
v. ) Criminal No. Q§;-jzoéz§ilml
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CV\(`{S N€,\U`\'OV\- ) (60-Day' Continuance)
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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I‘IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July
2005, criminal rotation calendar, but is now RESET for report at
8:45 a.m. on Tuesdav, Auqust 23, 2005, with trial to take place
on the September, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through September 16, 2005. Agreed in

open court at report date this 22nd day of June, 2005.

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with Ru|e 55 and/or 32(b) FHCrP en ja 'g?c/\)’¢E 020

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so ORDERED this 22nd day of June, 2005.

QM‘O&Q

JON PHIPPS MCCALLA
UN ED STATES DISTRIC'I' JUDGE

 

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Assistant Urlityéd States Attorney

 

 

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Counsel\ ford Defendant( s) \U

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20205 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Hugh J. Moore

WITT GAITHER & WH[TAKER
736 Market St.

1100 Suntrust Bank Bldg.
Chattanooga, TN 37402--260

Bryan H. Hoss

DAVIS & HOSS

508 East 5th St
Chattanooga, TN 37403

Honorable lon McCalla
US DISTRICT COURT

